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  5                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  6                             WESTERN DIVISION
  7
  8
      DANA J. SEUFERT,                        )     Case No. 8:20-cv-02239-GJS
  9       Plaintiff,                          )
 10                                           )     [PROPOSED]
                   v.                         )     JUDGMENT FOR VOLUTARY
 11                                           )     REMAND PURSUANT TO
 12   KILOLO KIJAKAZI,                        )     SENTENCE FOUR OF 42 U.S.C. §
      Acting Commissioner of Social           )     405(g)
 13
      Security,                               )
 14                                           )
 15
            Defendant.                        )

 16
            The Court having approved the parties’ Stipulation to Voluntary Remand
 17
      Pursuant to Sentence Four of 42 U.S.C. § 405(g) and Entry of Judgment
 18
      (“Stipulation to Remand”) lodged concurrent with the lodging of the within
 19
      Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
 20
      DECREED that the above-captioned action is remanded to the Commissioner of
 21
      Social Security for further proceedings consistent with the Stipulation to Remand.
 22
 23
            IT IS SO ORDERED.
 24
 25
 26
      Dated: September 23, 2021 __________________________________________
 27                             GAIL J. STANDISH
 28                             UNITED STATES MAGISTRATE JUDGE



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